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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

LATREISSA D. RANDOLPH,

           Plaintiff,

           v.                                              Case No. 20-2600-JAR-TJJ

UNIVERSITY OF KANSAS MEDICAL
CENTER, USMAN LATIF, M.D., AND JOHN
M. SOJKA, M.D.,

           Defendants.


                ORDER ADOPTING REPORT AND RECOMMENDATION

       This matter is before the Court on the Report and Recommendation filed on December 9,

2020 (Doc. 7). Fourteen days having passed, and no written objections being filed to the

proposed findings and recommendations by Magistrate Judge Teresa J. James, and after a de

novo determination upon the record pursuant to Fed. R. Civ. P. 72(b), the Court accepts the

recommended decision and adopts it as its own.

       IT IS THEREFORE ORDERED BY THE COURT that in accordance with the

December 9, 2020 Report and Recommendation (Doc. 7), this case is hereby dismissed for lack

of jurisdiction and for failure to state a claim upon which relief can be granted pursuant to 28

U.S.C. § 1915(e)(2)(B)(i)–(ii).

       IT IS SO ORDERED.

       Dated: January 8, 2021

                                                   S/ Julie A. Robinson
                                                   JULIE A. ROBINSON
                                                   CHIEF UNITED STATES DISTRICT JUDGE
